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9                               UNITED STATES DISTRICT COURT
10
                                          DISTRICT OF NEVADA
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                                                    *****
12   SANDOR ANIVAL CORDOVA
     CARBALLO, et al.,                                    Case No. 2:20-cv-01315-APG-BNW
13

14                           Plaintiff,                   STIPULATION TO EXTEND
                                                          DEADLINE TO FILE AMENDED
15   v.                                                   COMPLAINT, ANSWER, and
                                                          (Second Request)
16   WILLIAM BARR, et al.,

17                          Defendant.
18
            Plaintiffs, by and through their respective counsel of record, stipulate and request that the
19

20   Court extend the deadline for Plaintiffs to file their amended complaint from the current deadline

21   set by the parties of October 19, 2020, for fourteen days up to and including Monday, November
22
     2, 2020, the deadline for all Defendants’ deadlines to file their answer or responsive pleading for
23
     eighteen days up to and including Friday, November 20, 2020, and the deadline to file their
24
     stipulated discovery plan and scheduling order. The stipulation for these extensions is being
25

26   sought pursuant to Local Rule of Practice LR IA 6-1. This is the second request to extend the

27   deadline for Plaintiffs to file their amended complaint, defendants to file their answer or
28
     responsive pleading, and the deadline to file the stipulated discovery plan and scheduling order.
                                                      1
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1             In support of this Stipulation to Extend the deadline to file their Amended Complaint, the
2
     parties state as follows:
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              1.     The Court entered an order partially dismissing Plaintiffs’ habeas corpus claims
4

5
     and claims of other Plaintiffs on September 30, 2020 [ECF No. 46]. In this Order, the Court set

6    a deadline for Plaintiffs to file their amended complaint by October 9, 2020.
7
              2.     Counsel for both parties have conferred regarding Plaintiffs’ second request for an
8
     extension of time due to Plaintiff’s counsel’s family health emergency resulting in daughter’s
9
     hospitalization, and Defendants’ counsel have all agreed to stipulate to extend the deadline for
10

11   Plaintiffs to file their amended complaint from the current deadline by the parties of October 19,

12   2020, for fourteen days up to and including Monday, November 2, 2020.
13
              3.     The parties further conferred and agreed to extend all Defendants’ deadlines to file
14
     their answer or responsive pleading for eighteen days up to and including Friday, November 20,
15
     2020.
16

17            4.     The parties have also conferred and agreed to extend the deadline to file their

18   stipulated Discovery Plan and Scheduling Order on Friday, November 20, 2020.
19
              5.     These requested extensions are being brought in good faith, for good cause shown,
20
     and are not sought for any improper purpose or other purpose of delay.
21

22
              WHEREFORE, the parties respectfully request that the Court extend the deadline for

23   Plaintiffs to file their amended complaint from the current deadline set by the parties of October
24
     19, 2020, for eighteen days up to and including Monday, November 2, 2020, the deadline for all
25
     Defendants’ deadlines to file their answer or responsive pleading for eighteen days up to and
26
     including Friday, November 20, 2020, and the deadline to file their stipulated discovery plan and
27

28   scheduling order

                                                       2
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1           DATED this 19th day of October, 2020.
2
                                              Respectfully submitted,
3    IT IS SO ORDERED.
     Dated this 20th day of October, 2020.    SULL & ASSOCIATES, PLLC
4

5    _________________________________
     UNITED STATES DISTRICT COURT JUDGE       /s/ Hardeep Sull
6                                                  ___________________________________
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